Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                OXYGEN HOSPITALITY GROUP, INC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  20860 N. TATUM BLVD, STE 240
                                  Phoenix, AZ 85050
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Maricopa                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       WWW.OXGENHOSPITALITY.COM


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    OXYGEN HOSPITALITY GROUP, INC                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7011

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   OXYGEN HOSPITALITY GROUP, INC                                                             Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    OXYGEN HOSPITALITY GROUP, INC                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 12, 2019
                                                  MM / DD / YYYY


                             X   /s/ DAVID VALADE                                                         DAVID VALADE
                                 Signature of authorized representative of debtor                         Printed name


                                                                                                          Email Address of debtor
                                 Title   CHIEF FINANCIAL OFFICER




18. Signature of attorney    X   /s/ D. LAMAR HAWKINS                                                      Date November 12, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 D. LAMAR HAWKINS
                                 Printed name

                                 Guidant Law, PLC
                                 Firm name

                                 402 E. Southern Ave
                                 Tempe, AZ 85282
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     602-888-9229                  Email address      cindy@guidant.law

                                 013251 AZ
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name OXYGEN HOSPITALITY GROUP, INC
 United States Bankruptcy Court for the: DISTRICT OF ARIZONA                                                                                          Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ADVANCED                                                        BUSINESS DEBT                                                                                              $2,930.44
 NETWORK SERVICE
 3514 N. POWER RD,
 STE 133
 Mesa, AZ 85215
 ANDATO                                                          BUSINESS DEBT                                                                                              $4,135.00
 ANALYTICAL DATA
 14829 N. 54TH
 PLACE
 Scottsdale, AZ
 85254
 Claremont Land                                                  BUSINESS DEBT                                                                                            $46,999.50
 Group, LLC
 5861 Pine Ave. Ste
 A-1
 Chino Hills, CA
 91709
 CONCIERGE                                                       BUSINESS DEBT                                                                                            $16,120.00
 CONSULTLING, LLC
 20860 N. TATUM
 BLVD, STE 300
 Phoenix, AZ 85050
 DAVIS MILES,                                                    BUSINESS DEBT                                                                                                $322.92
 GARDNER
 40 E. RIO SALADO
 PKWAY
 Tempe, AZ 85281
 FEDEX                                                           BUSINESS DEBT                                                                                                  $26.18
 P.O. BOX 7221
 Pasadena, CA 91109
 LIBERTAS LAW                                                    BUSINESS DEBT                                                                                            $23,606.84
 GROUP
 225 SANTA MONICA
 BLVD. 5TH FLOOR
 Santa Monica, CA
 90401



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 MARCUM, LLP                                                     BUSINESS DEBT                                                                                              $5,150.00
 750 THIRD AVE,
 11TH FLOOR
 New York, NY 10017
 NEX INDUSTRIES                                                  BUSINESS DEBT                                                                                            $93,828.40
 905- WEST PENDER
 STREET, STE 402
 VANCOUVER, BC,
 V6C 1L6
 PRINCIPAL LIFE                                                  BUSINESS DEBT                                                                                                $324.06
 INSURANCE
 COMPANY
 P.O. BOX 10372
 Des Moines, IA
 50306
 R S MARKETING &                                                 BUSINESS DEBT                                                                                              $6,600.00
 ASSOCIATES
 24801 N. 84TH ST
 Scottsdale, AZ
 85255
 SIMMONS &                                                       BUSINESS DEBT                                                                                            $50,114.00
 GOTTFRIED
 8160 E. BUTHERUS,
 STE 7
 Scottsdale, AZ
 85260
 STAR SERVICES                                                   BUSINESS DEBT                                                                                                  $75.00
 CORP
 7363 E. ADOBE
 DRIVE, STE 115
 Scottsdale, AZ
 85255
 TECHNOLOGYVILL                                                  BUSINESS DEBT                                                                                              $3,145.00
 E
 2733 N. POWER RD,
 STE 102-191
 Mesa, AZ 85215
 V CORP                                                          BUSINESS DEBT                                                                                              $1,678.00
 25 RBERT PITT
 DRIVE, STE
 Monsey, NY 10952
 WEST COAST                                                      BUSINESS DEBT                                                                                                $534.85
 STOCK TRANSFER
 721 N. VULCAN
 AVE, STE 205
 Encinitas, CA 92024




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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ADVANCED NETWORK SERVICE
3514 N. POWER RD, STE 133
MESA AZ 85215


ANDATO ANALYTICAL DATA
14829 N. 54TH PLACE
SCOTTSDALE AZ 85254


CLAREMONT LAND GROUP, LLC
5861 PINE AVE. STE A-1
CHINO HILLS CA 91709


CONCIERGE CONSULTLING, LLC
20860 N. TATUM BLVD, STE 300
PHOENIX AZ 85050


DAVIS MILES, GARDNER
40 E. RIO SALADO PKWAY
TEMPE AZ 85281


FEDEX
P.O. BOX 7221
PASADENA CA 91109


LIBERTAS LAW GROUP
225 SANTA MONICA BLVD. 5TH FLOOR
SANTA MONICA CA 90401


MARCUM, LLP
750 THIRD AVE, 11TH FLOOR
NEW YORK NY 10017


NEX INDUSTRIES
905- WEST PENDER STREET, STE 402
VANCOUVER, BC, V6C 1L6


PRINCIPAL LIFE INSURANCE COMPANY
P.O. BOX 10372
DES MOINES IA 50306


R S MARKETING & ASSOCIATES
24801 N. 84TH ST
SCOTTSDALE AZ 85255



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SIMMONS & GOTTFRIED
8160 E. BUTHERUS, STE 7
SCOTTSDALE AZ 85260


STAR SERVICES CORP
7363 E. ADOBE DRIVE, STE 115
SCOTTSDALE AZ 85255


TECHNOLOGYVILLE
2733 N. POWER RD, STE 102-191
MESA AZ 85215


V CORP
25 RBERT PITT DRIVE, STE
MONSEY NY 10952


WEST COAST STOCK TRANSFER
721 N. VULCAN AVE, STE 205
ENCINITAS CA 92024




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                                                                        District of Arizona
 In re      OXYGEN HOSPITALITY GROUP, INC                                                          Case No.
                                                                                 Debtor(s)         Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for OXYGEN HOSPITALITY GROUP, INC in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



    None [Check if applicable]




 November 12, 2019                                                   /s/ D. LAMAR HAWKINS
 Date                                                                D. LAMAR HAWKINS
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for OXYGEN HOSPITALITY GROUP, INC
                                                                     Guidant Law, PLC
                                                                     402 E. Southern Ave
                                                                     Tempe, AZ 85282
                                                                     602-888-9229
                                                                     cindy@guidant.law




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